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     SEYFARTH SHAW LLP
 2   Marianne M. Dickson (SBN 249737)
     560 Mission Street, Suite 3100                                      FILED & ENTERED
 3   San Francisco, California 94105
     Telephone: 415-397-2823
 4   Facsimile: 415-397-8549                                                    JAN 08 2015
     Email: mdickson@seyfarth.com
 5
     SEYFARTH SHAW LLP                                                     CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
 6   Bart Lazar                                                            BY duarte     DEPUTY CLERK
     James B. Sowka
 7   (Pro Hac Vice Pending)
     131 South Dearborn Street, Suite 2400
 8   Chicago, Illinois 60603-5577
     Telephone: (312) 460-5000
 9   Facsimile: (312) 460-7000
     Email: blazar@seyfarth.com
10          jsowka@seyfarth.com

11
     Attorneys for ALDI, INC.
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13                           IN THE UNITED STATES BANKRUPTCY COURT
14                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                             SANTA ANA DIVISION
16
     CREATIVE OUTDOOR                                       Case No. 14-16651-ES
17   DISTRIBUTORS, USA INC.,
                                                            Chapter 11
18                       Debtor
                                                            ORDER GRANTING MOTION FOR
19                                                          ORDER TO CONDUCT EXAMINATION
                                                            OF DEBTOR CREATIVE OUTDOOR
20                                                          DISTRIBUTORS, USA, INC., THROUGH
                                                            BRIAN HOROWITZ, AND BRIAN
21                                                          HOROWITZ IN HIS PERSONAL
                                                            CAPACITY AND PRODUCTION OF
22                                                          DOCUMENTS PURSUANT TO
                                                            BANKRUPTCY RULE 2004
23
                                                            [no hearing required]
24
            IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
25
     1.     The Motion is GRANTED in its entirety;
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     2.     Pursuant to Federal Rule of Bankruptcy Procedure 9001(5), Brian Horowitz is hereby deemed as
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            the Debtor in this case for the purpose of the 2004 examination of Creative Outdoor Distributors,
28
            USA, Inc.;


                   ORDER GRANTING MOTION FOR 2004 EXAMINATION/CASE NO. 14-16651-ES
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 1       3.         Pursuant to Federal Rule of Bankruptcy Procedure 2004(d):

 2                      a. The Debtor, through Brian Horowitz, is directed to appear for examination at Seyfarth

 3                          Shaw’s offices at 2029 Century Park East, Suite 3500, Los Angeles, CA 90067-3021

 4                          (“Seyfarth’s Offices”), on the topics set forth in Exhibit B to the Motion on such date

 5                          noticed by Aldi after 30 days’ notice of same or as otherwise mutually agreed by the

 6                          parties; and

 7                      b. The Debtor is directed to produce, at Seyfarth Offices, no later than the close of business

 8                          on such date noticed by Aldi after 30 days’ notice of same or as otherwise mutually

 9                          agreed by the parties, all documents described in Exhibit A attached to the Motion.

10       4.         Pursuant to Federal Rule of Bankruptcy Procedure 2004(a) & (b), Aldi is authorized to examine

11                  Brian Horowitz, in his personal capacity, on the subjects set forth in the Motion and Exhibit A to

12                  the Motion.

13       5.         Pursuant to Federal Rule of Bankruptcy Procedure 2004(c):

14                      a. Aldi is hereby authorized to issue a subpoena to Brian Horowitz, in his personal capacity,

15                          compelling him to appear for examination at Seyfarth Offices on the topics set forth in

16                          Exhibit B to the Motion on such date noticed by Aldi after 30 days’ notice of same or as

17                          otherwise mutually agreed by the parties; and

18                      b. Aldi is hereby authorized to issue a subpoena to Brian Horowitz, in his personal capacity,

19                          compelling the production of all documents described in Exhibit A to the Motion at

20                          Seyfarth Offices, no later than the close of business on such date noticed by Aldi after
21                          30 days’ notice of same or as otherwise mutually agreed by the parties.
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                                                                ###
23
                   Date: January 8, 2015
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     18696748v.1            ORDER GRANTING MOTION FOR 2004 EXAMINATION/CASE NO. 14-16651-ES
